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                            UNITED STATES BANKRUPTCY COURT

                      NORTHERN DISTRICT OF GEORGIA (ATLANTA)



  In re
                                                                      Case No. 22-52950
  ATLANTA LIGHT BULBS, INC.,
                                                                      Chapter 11

                                      Debtor(s).




                                       REQUEST FOR NOTICE

          PLEASE TAKE NOTICE that Oracle America, Inc. (“Oracle”), hereby requests that all

 notices given or required to be given in the above-captioned case, and all papers served or required

 to be served in this bankruptcy proceeding including, without limitation, all notices pursuant to
 Federal Rules of Bankruptcy Procedure 2002, 3017 and 9007, be given and served upon:



                                    Shawn M. Christianson, Esq.
                                    Buchalter, A Professional Corporation
                                    425 Market St., Suite 2900
                                    San Francisco, CA 94105
                                    Telephone: (415) 227-0900
                                    schristianson@buchalter.com
          Neither this Request for Notice nor any subsequent appearance, pleading, claim or suit is

 intended or shall be deemed to waive Oracle’s: (i) right(s) to have all core matters subject to

 Article III jurisdiction heard and decided by a district judge; (ii) right(s) to have final orders in

 non-core matters entered only after de novo review by a district judge; (iii) right(s) to trial by jury

 in any proceeding so triable herein or in any case, controversy or proceeding related hereto; (iv)

 right(s) to have the reference withdrawn by the United States District Court in any matter subject

 to mandatory or discretionary withdrawal; or (v) other rights, claims, actions, defenses, setoffs or

 recoupments to which Oracle is, or may be, entitled under agreements, in law, or in equity, all of



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 which rights, claims, actions, defenses, setoffs, and recoupments expressly are reserved.


                                                       BUCHALTER, A Professional Corporation



 Dated: July 1, 2022                                  By: _/s/ Shawn M. Christianson__________
                                                      Shawn M. Christianson, Esq.
                                                      425 Market St., Suite 2900
                                                      San Francisco, CA 94105
                                                      Telephone: (415) 227-0900

                                                      Attorneys for Oracle America, Inc.




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